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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 Kaleef Reed,                                 )       CASE NO. 06 CR 290
                                              )
                        Petitioner,           )       JUDGE PATRICIA A. GAUGHAN
                                              )
                vs.                           )
                                              )
 United States of America,                    )       Memorandum of Opinion and Order
                                              )
                        Respondent.           )



        INTRODUCTION

        This matter is before the Court upon Petitioner’s Motion to Vacate, Set Aside, or Correct

 Sentence (Doc. 596). For the reasons that follow, the motion is DENIED.

        FACTS

        Petitioner, Kaleef Reed, was indicted for conspiracy to distribute and possess with intent

 to distribute over 50 grams of crack cocaine (“count one”). In addition, petitioner was charged

 with two counts of distribution of crack. Thereafter, petitioner entered a guilty plea to count one

 of the indictment. On April 4, 2007, petitioner was sentenced to 120 months imprisonment and

 eight years of supervised release. The remaining counts were dismissed.

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        Petitioner did not file a direct appeal. Petitioner moves in general fashion pursuant to 28

 U.S.C. § 2255 to vacate, set aside or correct his sentence. Petitioner does not specify the precise

 relief he seeks. According to petitioner, he was denied effective assistance of counsel during the

 plea negotiations and was not advised that the plea agreement included a waiver of his appellate

 rights. Although unclear, it appears that petitioner also argues that the government intentionally

 charged him with crack cocaine when, in fact, the evidence demonstrated that the conspiracy

 involved powder cocaine.

        STANDARD OF REVIEW

        Pursuant to 28 U.S.C. § 2255, a federal prisoner may petition to vacate or set aside his

 sentence "upon the ground that the sentence was imposed in violation of the Constitution or the

 laws of the United States, or that the court was without jurisdiction to impose such sentence, or

 that the sentence was in excess of the maximum authorized by law, or is otherwise subject to

 collateral attack." 28 U.S.C. § 2255.

        To prevail on a § 2255 motion alleging constitutional error, the petitioner must establish

 an error of constitutional magnitude which had a substantial and injurious effect or influence on

 the proceedings. See Brecht v. Abrahamson, 507 U.S. 619, 637-638 (1993); Watson v. United

 States, 165 F.3d 486, 488 (6th Cir. 1999).

        ANALYSIS

        1.      Ineffective assistance of counsel

        A petitioner challenging the effectiveness of trial counsel must first show that counsel

 was so deficient that counsel was not functioning as the “counsel” guaranteed by the Sixth

 Amendment, and further that counsel’s deficient performance so prejudiced the defense as to


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 render the trial unfair and the result unreliable. Strickland v. Washington, 466 U.S. 668, 687

 (1984). The Sixth Circuit has held that counsel’s performance is not deficient when plea

 agreement advice is “based upon a reasonable decision to offer a guilty plea in exchange for a

 lighter sentence.” Nagi v. United States, 90 F.3d 130, 135 (6th Cir. 1996). As a general rule, the

 Court must avoid the use of hindsight and presumes that “the challenged action might be

 considered sound trial strategy.” Strickland, 466 U.S. at 689.

          In order to succeed in establishing ineffective assistance of counsel, petitioner must

 demonstrate that “(1) his attorney’s performance was outside the range of competence demanded

 of attorneys in the criminal context, and (2) the professionally unreasonable performance

 prejudiced him.” Hunter v. United States, 160 F.3d 1109, 1115 (6th Cir. 1998).

          Petitioner argues that he is entitled to relief because his attorney “never explored the

 evidence,” which, according to petitioner, was weak. In addition, he argues that he should have

 been allowed to plead to the distribution counts instead of the conspiracy count. Had this

 occurred, petitioner would have not have been subject to a mandatory minimum sentence.

 Petitioner claims that other co-defendants were able to plead to the distribution counts. He

 further argues that he informed his attorney that he did not wish to plead guilty to the conspiracy

 count.

          Upon review, the Court finds that petitioner is not entitled to relief. Petitioner offers no

 evidence indicating that the government would have permitted petitioner to plead to the

 distribution counts. Moreover, the plea colloquy demonstrates that petitioner knew that his

 guilty plea would result in imposition of a mandatory minimum sentence. The fact that

 petitioner now believes he somehow could have achieved a “better deal” does not rise to the


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 level of ineffective assistance of counsel. Accordingly, petitioner’s claim is rejected.

         2.      Waiver of appellate rights

         Petitioner argues that he did not understand that by entering into the plea agreement he

 would be waiving his appellate rights. This argument is rejected out of hand. The plea

 agreement addresses the waiver of appellate rights in basic terms. Moreover, this Court

 reviewed this provision on the record, and petitioner acknowledged that he understood it. As

 such, petitioner is not entitled to relief.

         3.      Government’s conduct

         Although unclear, it appears that petitioner is claiming that the government knew that

 petitioner’s conduct involved powder cocaine, yet the government charged petitioner with

 conspiracy and distribution of crack cocaine. Petitioner also appears to claim that his attorney

 “threatened him with evidence.” Once again, petitioner’s claim lacks merit. Petitioner admitted

 in the plea colloquy that he engaged in the behavior charged in count one, i.e., conspiracy to

 distribute crack cocaine. Petitioner cannot now argue that the substance was actually powder

 cocaine.

         CERTIFICATE OF APPEALABILITY

         Based on the foregoing, the Court declines to issue a certificate of appealability.

         28 U.S.C. § 2253(c) provides:

         (c)(1) Unless a circuit justice or judge issues a certificate of appealability, an appeal may
         not be taken to the court of appeals from--

         (A) the final order in a habeas corpus proceeding in which the detention complained of
         arises out of process issued by a State court; or

         (B) the final order in a proceeding under section 2255.


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         (2) A certificate of appealability may issue under paragraph (1) only if the applicant has
         made a substantial showing of the denial of a constitutional right.

         (3) The certificate of appealability under paragraph (1) shall indicate which specific issue
         or issues satisfy the showing required by paragraph (2).

 (emphasis added).

         In Slack v. McDaniel, 529 U.S. 473 (2000), the Supreme Court determined that

         [t]o obtain a COA under § 2253(c), a habeas prisoner must make a substantial
         showing of the denial of a constitutional right, a demonstration that, under
         Barefoot, includes showing that reasonable jurists could debate whether (or, for
         that matter, agree that) the petition should have been resolved in a different
         manner or that the issues presented were ‘adequate to deserve encouragement to
         proceed further.’

 Id. at 483-4 (quoting Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983)).

         For the reasons stated herein, the Court does not find that petitioner has made a

 substantial showing of the denial of a constitutional right. Accordingly, the Court declines to

 issue a certificate of appealability.

         CONCLUSION

         For the foregoing reasons, Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence

 is DENIED.

         IT IS SO ORDERED.




                                         /s/ Patricia A. Gaughan
                                         PATRICIA A. GAUGHAN
                                         United States District Judge

 Dated: 8/19/08




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